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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X


                                        Plaintiff(s),


                                                                             Civ.         (      )
                        - against -
                                                                       CLERK'S CERTIFICATE
                                                                           OF DEFAULT

                                      Defendant(s),
-------------------------------------------------------------X

                       I, RUBY J. KRAJICK, Clerk of the United States District Court for

the Southern District of New York, do hereby certify that this action was commenced on

                          with the filing of a summons and complaint, a copy of the summons and

complaint was served on defendant(s)

by personally serving                                                                                ,

and proof of service was therefore filed on                                , Doc. #(s)               .

I further certify that the docket entries indicate that the defendant(s) has not filed an

answer or otherwise moved with respect to the complaint herein. The default of the

defendant(s) is/are hereby noted.

Dated: New York, New York

                     May 22   , 20 20                                  RUBY J. KRAJICK
                                                                         Clerk of Court


                                                                 By: _________________________
                                                                           Deputy Clerk




SD N Y W eb 3/2015
